         Case 1:17-cr-00232-EGS Document 255 Filed 09/28/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


                     NOTICE OF DISCOVERY CORRESPONDENCE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court its most recent discovery correspondence in

this case.


                                                    Respectfully submitted,

                                                    MICHAEL R. SHERWIN
                                                    United States Attorney
                                                    NY Bar No. 4444188

                                                    KENNETH C. KOHL
                                                    Acting Principal Assistant U.S. Attorney

                                                    By: /s/ Jocelyn Ballantine
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Dated: September 28, 2020
Enclosures
